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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF THE VIRGIN ISLANDS

THE UNITED STATES OF AMERICA

" Case No. 31&m, bD Ge

SHAWN BERNARD TYSON and
NATASHA NATILE FRANCE,
Defendants.

 

 

AFFIDAVIT IN SUPPORT OF A CRIMINAL
COMPLAINT

I, Christopher Ramnes, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

l. | make this affidavit in support of a criminal complaint charging Shawn Bernard
TYSON and Natasha Natile FRANCE with conspiracy to mail firearms, in violation of Title 18,

United States Code, Sections 371 and 1715.

2. Iam a Special Agent with the Department of Homeland Security, Immigration
and Customs Enforcement, Homeland Security Investigation (HSI), assigned to St. Thomas, in
the District of the Virgin Islands, and have been since January 2017. I have completed 14 weeks
of Criminal Investigator training at the Federal Law Enforcement Training Center. From 2001
until beginning my position as a Special Agent with HSI in January 2017, I was employed as a
Federal Agent with the Department of Energy (DOE), during which time I enforced federal laws
pertaining to the protection of national security. Prior to my employment with DOE, from April
1998 to August 2001, I was a United States Border Patrol Agent, during which time I made
arrests and conducted investigations into human and narcotics smuggling. My experience in

civilian law enforcement began as a police officer with the Frankfort, Kentucky, City Police
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Department, where, from March 1991 to December 1995, I enforced the state’s criminal laws,
including, among others, laws pertaining to drug trafficking. Prior to my role as a civilian police
officer, I served as a Military Police Officer with the United States Army from 1985 through

1989.

3. This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

PROBABLE CAUSE

4. On or about October 22, 2018, Customs and Border Protection (“CBP”) officers
alerted HSI agents to an international Israeli Post parcel. The parcel was addressed to Shawn
Tyson, St. Thomas Jetcenter, North Ramp Cyril King, 8102 Lindberg Bay, Charlotte Amalie
00802, Saint Thomas, Virgin Islands (USA). The return address was from Jacobson, Ravutzhi
27C, Raanana, 4322014, Israel. The parcel had been pulled for inspection and was found to
contain three Roni conversion kits for Glock handguns. The conversion kits are designed to

provide added stability for improved shooting performance with handguns.

5. Records checks on the intended recipient, Shawn TYSON, revealed that TYSON
is a contract part-time employee at the St. Thomas Jet Center. TYSON does not have a Virgin
Islands gun license. In addition, in 2008, TYSON was convicted in the District Court of the
Virgin Islands for multiple counts and violations of Title 18, United States Code, § 922 and 924,
Trafficking Firearms In Interstate Commerce, Transferring a Firearm to be used in a Crime and
Transferring a Firearm to an Out-of-State Resident. TYSON was sentenced to 18 months in

prison.
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6. A historical parcel query of TYSON and his listed addresses revealed that
TYSON recently received at least 5 parcels from BROWNELLS, all of which had been
delivered. According to their retail website (www.brownells.com), BROWNELLS is “The
World’s Largest Supplier of Firearms Accessories and Gunsmithing Tools™.” HSI served
BROWNELLS with an administrative subpoena to produce a detailed listing and description of
all firearms related merchandise purchased by or shipped to TYSON. BROWNELLS complied
with the request and returned 6 separate invoices, each with a description of items purchased.
Among the items listed were: AK-47 75-round Drum Magazines; 30-round 5.56 magazines; a
Glock .40 caliber, 50-round magazine; Glock .45 caliber, 26-round magazines; an 80% Glock
frame; Standard Glock magazines; AR15 Binary trigger; Lower Parts Kit for Glock Compact

9/40, consisting of a Glock slide lock, firing pin, trigger, trigger housing ejector, and slide stop.

7. On or about November 14, 2018, while conducting mail screening at the Ottley
Post Office on St. Thomas, officers from CBP found five U.S. Priority Mail parcels addressed to
TYSON at the St. Thomas Jet Center, 8102 Lindberg Bay Drive, North Ramp CEK Airport, St.
Thomas, VI 00802. The return address on all five parcels indicated Natasha FRANCE, 1820
Mulkey Road, Apt 801, Austell, GA 30106. The officers x-rayed one of the parcels and saw what
they believed to a firearm and or firearms parts. Further inspection revealed that the packages
contained parts for ATI Omni Maxx Hybrid 5.56 pistols. One of the parcels included eleven
lower receivers, each of which meets the definition of a firearm listed in Title 18, United States
Code § 921(a)(3)(b). Federal law prohibits the mailing of such receivers. 18 U.S.C. § 1715. In
addition, all of the lower receivers had obliterated serial numbers. Combined, the five parcels

contained the necessary parts to assemble eight ATI Omni Maxx Hybrid 5.56 pistols.
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8. All five parcels had been mailed from the Atlanta Processing and Distribution
Center in Atlanta, GA, on November 10, 2018. Video obtained from the Atlanta Processing and
Distribution Center in Atlanta, GA, shows Natasha FRANCE dropping all give parcels off at the
post office. Specifically, FRANCE retrieved four of the parcels from a suitcase she rolled into
the post office. After tendering four of the parcels to the post office clerk, FRANCE briefly left
the post office with her suitcase and an unassembled box. FRANCE returned moments later with
the box fully assembled, packed, and addressed. She then tendered the fifth package for

shipment.

9, On or about November 15, 2018, the United States Postal Inspection Service,
through parcel research, identified four more parcels en route from Georgia to TYSON.
Specifically, the parcels had been mailed from Stockbridge, GA, to TYSON in St. Thomas, VI,

on November 13 and 14, 2018.

10. | On November 16, 2018, one of the four above-mentioned parcels arrived at the
Ottley Post Office on St. Thomas, VI. On or about November 19, 2018, the three other parcels
were located at the Ottley Post Office on St. Thomas, VJ. All four parcels had similar
handwriting: two of the parcels were sent from Shawn TYSON to Shawn TYSON, with the other
two reflecting Natasha FRANCE as the sender, with Shawn TYSON as the recipient. All four of

the parcels were mailed from the Atlanta, Georgia area.

11. On November 23, 2018, law enforcement officials executed a search warrant
obtained for the four parcels. The combined contents of two of the boxes contained all of the
parts necessary to assemble two complete Romarm/Cugir Mini Draco, 7.62 caliber, pistols. The

combined contents of the remaining two boxes contained all of the parts necessary to assemble

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three American Tactical Omni Maxx Hybrid, 5.56 caliber, pistols. These two boxes additionally
contained two American Tactical lower receivers and other miscellaneous firearms parts. All

seven of the receivers had obliterated serial numbers.

12. Based on the above information, I have probable cause to believe that Shawn
Bernard TYSON and Natasha Natile FRANCE, together with others, conspired to send or cause
to be sent firearms through the mail, in violation of Title 18, United States Code, Sections 371

and 1715.

“( ly submitted,

 

( A ieee
Special Agent, HSI

Subscribed and sworn to before me
on December 10, 2018:

 

RUTH MILLER
